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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA

In re   WW Contractors, Inc.                                      Case Number:     18-12095-BFK

                                      Debtor(s)

                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1.      Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named
        debtor(s) and that compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
        contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept…………………………………………………… $ __________
                                                                          Hourly
        Prior to the filing of this statement I have received………………..………………………….$ __________
                                                                                   0
        Balance Due…………………………………………………………………………………...$ __________
                                                        Hourly

2.      The source of the compensation paid to me was:
          Debtor                          Other (specify) Not Applicable

3.      The source of compensation to be paid to me is:
          Debtor                          Other (specify)
4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
          associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
          compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
        including:

        a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
        petition in bankruptcy;

        b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
        thereof;

        d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        e. [Other provisions as needed]

          None
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 6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

    None




                                                     CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of
 the debtor(s) in this bankruptcy proceeding.


 _________________________
 11/21/2018                                                      _____________________________________________
                                                                  /s/ David W. Gaffey
 Date                                                            Signature of Attorney

                                                                 _____________________________________________
                                                                  Whiteford, Taylor & Preston, LLP
                                                                 Name of Law Firm




      For use in Chapter 13 Cases where Fees Requested Not in Excess of $5,223
                     (For all Cases Filed on or after 01/01/2018)
   NOTICE TO DEBTOR(S), STANDING CHAPTER 13 TRUSTEE AND UNITED
                                STATES TRUSTEE
         PURSUANT TO LOCAL BANKRUPTCY RULE 2016-1(C) AND
                          CLERK’S CM/ECF POLICY 9

           Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C), you must file an objection with the court
 to the fees requested in this disclosure of compensation opposing said fees in their entirety, or in a specific amount, no later
 than the last day for filing objections to confirmation of the chapter 13 plan.



                                                  PROOF OF SERVICE
          The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing
 Chapter 13 trustee, and U. S. trustee pursuant to Local Bankruptcy Rule 2016-1(C) and the Clerk’s CM/ECF Policy 9, either
 electronically or in paper form (first class mail).


 _______________________________                                 ___________________________________________
 Date                                                            Signature of Attorney




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